                     UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

NORTH CAROLINA STATE CONFERENCE
OF THE NAACP; MOORE COUNTY        No. 16-cv-1274
BRANCH OF THE NAACP; JAMES
EDWARD ARTHUR, SR.; JAMES MICHAEL
BROWER, GRACE BELL HARDISON; and
JAMES L. COX;
               Plaintiffs;

        v.

The NORTH CAROLINA STATE BOARD OF
ELECTIONS (“State BOE”); A. GRANT
WHITNEY, JR., in his official capacity as
Chairman of the State BOE; RHONDA K.
AMOROSO, in her official capacity as
Secretary of the State BOE; KIM
WESTBROOK STRACH, in her official
capacity as Executive Director of the State
BOE; JOSHUA D. MALCOLM, in his official
capacity as Member of the State BOE; JAMES
BAKER, in his official capacity as Member of
the State BOE; MAJA KRICKER, in her
official capacity as Member of the State BOE;
the BEAUFORT COUNTY BOARD OF
ELECTIONS (“Beaufort BOE”); JAY
MCROY, in his official capacity as Chairman
of the Beaufort BOE; JOHN B. TATE, III, in
his official capacity as Secretary of the Beaufort
BOE; THOMAS S. PAYNE, II, in his official
capacity as Member of the Beaufort BOE;
KELLIE HARRIS HOPKINS, in her official
capacity as Director of the Beaufort BOE; the
MOORE COUNTY BOARD OF ELECTIONS
(“Moore BOE”); SUSAN T. ADAMS, in her




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 official capacity as Chairman of the Moore
 BOE; CAROLYN M. MCDERMOTT, in her
 official capacity as Secretary of the Moore
 BOE; WILLIAM R. PARKE, in his official
 capacity as Member of the Moore BOE;
 GLENDA M. CLENDENIN, in her official
 capacity as Director of the Moore BOE; the
 CUMBERLAND COUNTY BOARD OF
 ELECTIONS (“Cumberland BOE”); JAMES
 H. BAKER, in his official capacity as
 Chairperson of the Cumberland BOE;
 ROBERT KEVIN HIGHT, in his official
 capacity as Secretary of the Cumberland BOE;
 HARVEY RAYNOR III, in his official capacity
 as Member of the Cumberland BOE; and
 TERRI ROBERTSON, in her official capacity
 as Director of the Cumberland BOE,
                Defendants.


        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                    INTRODUCTION

       1.     This is an action for declaratory and immediate injunctive relief before the

November 8, 2016 general election, seeking to enjoin the North Carolina and County

Boards of Elections from cancelling the voter registrations of thousands of North Carolina

voters who have been targeted in coordinated, en masse challenge proceedings brought in

the final weeks and months before Election Day, and whose right to vote has been

challenged solely on the basis of a single piece of undeliverable mail, in clear violation of

the National Voter Registration Act (“NVRA”) and other federal laws.

       2.     In order to protect the rights of voters, the NVRA limits states’ authority to

cancel voter registration on the basis of a voter’s change in residence. A registration



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cancellation for change in residence is allowed only if a voter either (1) confirms the

residence change in writing, or (2) is given a prescribed notice and then fails to respond

and fails to vote for two federal election cycles. The NVRA also prohibits all systemic

voter removal programs within 90 days of a federal election.

       3.     In recent weeks and months, in direct violation of the NVRA and other

federal laws, boards of election in at least three North Carolina counties, and possibly

others, have cancelled thousands of voter registrations for changes in residence on the basis

of single mailings returned as undeliverable – without compliance with the NVRA’s notice

and two-cycle provisions. In many cases, voters purged by Defendants still reside at the

addresses where they are registered to vote, or have moved within the county and remain

eligible to vote there. Nonetheless, a single item of returned mail has resulted in their

ultimate removal from the voter rolls.

       4.     The State Board of Elections defends these mass cancellations on the ground

that state laws purportedly allow private individuals to challenge voter registrations based

on evidence that they have moved out of the precinct or county, including a returned

mailing. But those state laws cannot be implemented in a manner that violates the NVRA,

which is exactly what Defendants have done and will continue to do unless enjoined.

Defendants have cancelled thousands of voter registrations in the final weeks before a

general election in violation of federal law.

       5.     Accordingly, Plaintiffs James Michael Brower, Grace Bell Hardison, and

James L. Cox, whose eligibility to vote has been unlawfully challenged, and Plaintiff James




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Edward Arthur, Sr., whose voter registration has been unlawfully cancelled, as well as

Plaintiffs North Carolina State Conference of the NAACP (“North Carolina NAACP”) and

Moore County Branch of the NAACP (“Moore County NAACP”) (collectively

“organizational Plaintiffs”), bring this action seeking injunctive relief to stop further

unlawful voter purges by the Defendants and to require Defendants to restore wrongfully

purged voters to the rolls so that they can exercise their right to vote in the general election

on November 8, 2016 and in future elections.

                              JURISDICTION AND VENUE

       6.     This Court has subject matter jurisdiction over this action under 28 U.S.C.

§1331 because this action arises under the Constitution and laws of the United States; under

28 U.S.C. §§1343(a)(3)-(4) and 1357 because this action seeks equitable and other relief

pursuant to an act of Congress providing for the protection of the right to vote; and under

42 U.S.C. §§1983 and 1988 because this action seeks to enforce rights and privileges

secured by the laws of the United States. This Court has authority to issue declaratory and

injunctive relief pursuant to 28 U.S.C. §§2201 and 2202.

       7.     Venue is proper in this District pursuant to 28 U.S.C. §1391(b) because,

among other things, a substantial part of the events or omissions giving rise to the claims

have occurred, or will occur, in this District.

                                          PARTIES

       8.     Plaintiff NORTH CAROLINA STATE CONFERENCE OF THE

NATIONAL ASSOCIATION FOR THE ADVANCEMENT OF COLORED PEOPLE




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(“North Carolina NAACP”) is a nonpartisan, nonprofit organization, whose headquarters

are in Durham, North Carolina. With over 100 branches and more than 20,000 individual

members throughout the state of North Carolina, the North Carolina NAACP is the largest

NAACP conference in the South and the second largest conference in the country. The

North Carolina NAACP has members who are citizens and registered voters in each of the

state’s 100 counties, including the 40 counties formerly covered by the pre-clearance

formula under Section 4(b) of the federal Voting Rights Act.

       9.     The fundamental mission of the North Carolina NAACP is the advancement

and improvement of the political, educational, social, and economic status of minority

groups; the elimination of racial prejudice and discrimination; the publicizing of adverse

effects of racial discrimination; and the initiation of lawful action to secure the elimination

of racial bias and discrimination. In furtherance of this mission, the North Carolina

NAACP advocates to ensure that the interests of the African American community are

represented on local, state, and national legislative bodies by representatives who share the

community’s interests, values, and beliefs, and who will be accountable to the community.

       10.    Since its founding in 1938, an enduring priority of the North Carolina

NAACP has been to protect and expand hard-won voting rights. The organization has

played a prominent role in promoting the right to vote and civic engagement generally

throughout North Carolina, including by fighting for the voting rights of African

Americans. For example, in the past decade, the North Carolina NAACP has engaged in

voter registration drives, efforts to encourage civic engagement by youth, and Get Out the




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Vote (“GOTV”) drives. The North Carolina NAACP engages in voter empowerment work

through all-volunteer Political Action Chairs and Committees active at both the state and

local levels. GOTV efforts have included large-scale “Souls to the Polls” campaigns on

Sundays after church, Million Voter Marches, and non-partisan civic engagement

trainings, events, and assemblies across the State. The organization has placed a particular

emphasis on promoting the use of early voting, same-day registration, outreach to young

voters, and Souls to the Polls.

       11.    Plaintiff MOORE COUNTY BRANCH OF THE NAACP (“Moore County

NAACP”) is a unit of the NAACP, and shares in the mission of the North Carolina

NAACP. In furtherance of its mission, the Moore County NAACP has long been engaged

in efforts to promote the right to vote, including through voter registration drives, efforts

to encourage civic engagement by youth, and Get Out the Vote drives, among other voter-

protection and voter-education activities.

       12.    Plaintiff James Edward Arthur, Sr., is an African American U.S. citizen and

a resident of Washington (Beaufort County), North Carolina, where he has lived his entire

life. Mr. Arthur became a registered voter in Beaufort County in November 2011, and has

since voted in at least 14 elections. Mr. Arthur wishes to vote in the upcoming November

8, 2016 general election, and had planned to do so, but recently learned that he will be

unable to cast a regular ballot because his voter registration was cancelled by the Beaufort

County Board of Elections (“Beaufort BOE”) on or after October 24, 2016, as a result of a

third-party challenge brought under North Carolina’s voter challenge statute. Mr. Arthur




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is one of approximately 138 voters in Beaufort County whose registration was challenged

in recent weeks by a group of individuals, based solely on undeliverable mass mailings.

       13.    Plaintiff James Michael Brower is an African American U.S. citizen and a

resident of Robbins (Moore County), North Carolina. Mr. Brower was born in Moore

County, and has lived in Moore County continuously since 1999. Mr. Brower is an active

voter and, since becoming a registered voter in Moore County, has voted in person in at

least nine elections in Moore County, including as recently as November 2014. Mr.

Brower’s registration status was challenged as part of an en masse challenge proceedings

brought by a private citizen in Moore County on the basis of alleged change in residence.

Mr. Brower only learned of the challenge when a relative with knowledge of the challenges

informed him that his name appeared on the list of challenged voters. Upon learning of

the challenge, Mr. Brower went to the Moore BOE to inform them that he is still a Moore

County resident eligible to vote and was ultimately successful in getting his name removed

from the challenge list. Nonetheless, he is troubled that his right to vote was challenged,

and particularly by the knowledge that but for others’ efforts, he may have been purged

from the voter rolls and unable to cast a regular ballot in the November 8 election, which

he intends to do. Mr. Brower has been a member of the Moore County NAACP within the

last five years and is currently renewing his membership.

       14.    Plaintiff Grace Bell Hardison is a 100-year-old African-American woman

who is a U.S. citizen and a resident of Belhaven (Beaufort County), North Carolina, where

she has lived her entire life. Ms. Hardison is an active voter and has voted nearly every




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year for the last twelve years, including most recently in the 2015 municipal election. Ms.

Hardison’s registration was challenged as part of en masse challenges brought by a group

of private citizens in Beaufort County on the basis of her alleged change in residence, even

though she has lived continuously at the same residence since 2011, which is the same

address on her voter registration records. Ms. Hardison only learned of the challenge on

or about October 14, 2016 from her nephew, who is active with the NC NAACP and read

about the challenges in the newspaper. Although her nephew was ultimately successful in

defeating the challenge by presenting evidence of Ms. Hardison’s residence, Ms. Hardison

continues to fear that she will be told at the polls on Election Day that she is not registered

and will be denied her right to vote, which she holds sacred.

       15.    Plaintiff James L. Cox is an African-American U.S. citizen and a resident of

Belhaven (Beaufort County), North Carolina, where he has lived his entire life. Mr. Cox

registered to vote in Beaufort County in 2011 and has since voted in at least seven elections,

including as recently as the June 7, 2016 primary. Mr. Cox’s registration was challenged

as part of en masse challenges brought by a group of private citizens in Beaufort County

on the basis of his alleged change in residence, even though he has lived continuously at

the same residence since 2011, which is the same address on his voter registration records.

Mr. Cox never received any notice from the Beaufort BOE regarding the challenge to his

registration. Mr. Cox only learned of the challenge from a friend and fellow Belhaven

resident who learned of the en masse challenges through a news story, and who assisted

him in submitting proof of his voter eligibility to the Beaufort BOE in order to protect his




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registration status. Mr. Cox wishes and plans to vote in the upcoming November 8, 2016

general election. Had he not been informed about the challenge by his friend, he would

not have known that his right to vote in the November 8 election had been placed in

jeopardy.

       16.    Defendant NORTH CAROLINA STATE BOARD OF ELECTIONS (“State

BOE”) is charged with administering the election laws of the State of North Carolina. The

State BOE has the authority to advise county BOEs as to the proper methods for conducting

primaries and elections and to compel county BOEs to observe the requirements of

elections laws. N.C.G.S. §163-22(c).

       17.    Defendant A. GRANT WHITNEY, JR., is sued in his official capacity as

Chairman of the State BOE, which is charged with administering the election laws of the

State of North Carolina.

       18.    Defendant RHONDA K. AMOROSO is sued in her official capacity as

Secretary of the State BOE, which is charged with administering the election laws of the

State of North Carolina.

       19.    Defendant KIM WESTBROOK STRACH is sued in her official capacity as

Executive Director of the State BOE, which is charged with administering the election laws

of the State of North Carolina. Defendant Strach is also the designated chief state election

official responsible for coordination of North Carolina’s responsibilities under the NVRA.




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      20.    Defendant JOSHUA D. MALCOLM is sued in his official capacity as a

Member of the State BOE, which is charged with administering the election laws of the

State of North Carolina.

      21.    Defendant JAMES BAKER is sued in his official capacity as a Member of

the State BOE, which is charged with administering the election laws of the State of North

Carolina.

      22.    Defendant MAJA KRICKER is sued in her official capacity as a Member of

the State BOE, which is charged with administering the election laws of the State of North

Carolina.

      23.    Defendant BEAUFORT COUNTY BOARD OF ELECTIONS (“Beaufort

BOE”) is charged with administering North Carolina’s election laws within Beaufort

County, North Carolina.

      24.    Defendant JAY MCROY is sued in his official capacity as Chairman of the

Beaufort BOE, which is charged with administering North Carolina’s election laws within

Beaufort County, North Carolina.

      25.    Defendant JOHN B. TATE, III, is sued in his official capacity as Secretary

of the Beaufort BOE, which is charged with administering North Carolina’s election laws

within Beaufort County, North Carolina.

      26.    Defendant THOMAS S. PAYNE, II, is sued in his official capacity as a

Member of the Beaufort BOE, which is charged with administering North Carolina’s

election laws within Beaufort County, North Carolina.




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      27.    Defendant KELLIE HARRIS HOPKINS is sued in her official capacity as

Director of the Beaufort BOE, which is charged with administering North Carolina’s

election laws within Beaufort County, North Carolina. Defendant Hopkins is appointed by

the Executive Director of the State BOE and is responsible for implementing the Beaufort

BOE’s decisions.

      28.    Defendant MOORE COUNTY BOARD OF ELECTIONS (“Moore BOE”)

is charged with administering North Carolina’s election laws within Moore County, North

Carolina.

      29.    Defendant SUSAN T. ADAMS is sued in her official capacity as Chairman

of the Moore BOE, which is charged with administering North Carolina’s election laws

within Moore County, North Carolina.

      30.    Defendant CAROLYN M. MCDERMOTT is sued in her official capacity as

Secretary of the Moore BOE, which is charged with administering North Carolina’s

election laws within Moore County, North Carolina.

      31.    Defendant WILLIAM R. PARKE is sued in his official capacity as a Member

of the Moore BOE, which is charged with administering North Carolina’s election laws

within Moore County, North Carolina.

      32.    Defendant GLENDA M. CLENDENIN is sued in her official capacity as

Director of the Moore BOE, which is charged with administering North Carolina’s election

laws within Moore County, North Carolina. Defendant Clendenin is appointed by the




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Executive Director of the State BOE and is responsible for implementing the Moore BOE’s

decisions.

      33.    Defendant CUMBERLAND COUNTY BOARD OF ELECTIONS

(“Cumberland BOE”) is charged with administering North Carolina’s election laws within

Cumberland County, North Carolina.

      34.    Defendant JAMES H. BAKER is sued in his official capacity as Chairperson

of the Cumberland BOE, which is charged with administering North Carolina’s election

laws within Cumberland County, North Carolina.

      35.    Defendant ROBERT KEVIN HIGHT is sued in his official capacity as

Secretary of the Cumberland BOE, which is charged with administering North Carolina’s

election laws within Cumberland County, North Carolina.

      36.    Defendant HARVEY RAYNOR, III, is sued in his official capacity as a

Member of the Cumberland BOE, which is charged with administering North Carolina’s

election laws within Cumberland County, North Carolina.

      37.    Defendant TERRI ROBERTSON is sued in her official capacity as Director

of the Cumberland BOE, which is charged with administering North Carolina’s election

laws within Cumberland County, North Carolina. Defendant Robertson is appointed by

the Executive Director of the State BOE and is responsible for implementing the

Cumberland BOE’s decisions.




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                                  LEGAL BACKGROUND

                       The National Voter Registration Act of 1993

       38.     The NVRA sets forth mandatory procedures for state election officials that

further several goals, including to “increase the number of eligible citizens who register to

vote in elections for Federal office . . . ; to protect the integrity of the electoral process; and

to ensure that accurate and current voter registration rolls are maintained.” 52 U.S.C.

§20501(b).

       39.     To that end, the NVRA requires States to “ensure that any eligible applicant

is registered to vote in an election” if the applicant submits, through one of several means,

a valid voter registration form at least 30 days before the date of a federal election. 52

U.S.C. §20507(a)(1). Once voters are registered, the NVRA imposes strict safeguards

against their improper or unfair removal from the official list of eligible voters. Id.

§20507(a)(3)-(4).

       40.     The NVRA provides that certain procedures must be followed if a state

undertakes to remove registered voters on the basis of a change in residence. In particular,

the NVRA prohibits such removals unless the registrant either: (1) confirms the change of

residence in writing, or (2) fails to respond to a notice, the contents and manner of mailing

of which are prescribed by the NVRA, and fails to vote during the next two general election

cycles after receiving the notice. Id. §20507(d).

       41.     The NVRA’s safeguards are particularly stringent in the period leading up to

a federal election. Specifically, states must “complete, not later than 90 days prior to the




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date of a primary or general election for Federal office, any program the purpose of which

is to systematically remove the names of ineligible voters from the official lists of eligible

voters.” Id. §20507(c)(2)(A). The only exceptions to this provision occur upon the request

of the registrant, criminal conviction, a determination of incompetence, or the death of the

registrant. Id. §20507(c)(2)(B).

                       North Carolina’s Voter Challenge Statute

       42.    North Carolina law authorizes any voter in a county to challenge the

eligibility of any other county voter at any time up to 25 days before each primary, general,

or special election. N.C.G.S. §163-85(a). Such challenges may be based on certain

specified grounds including that the challenged voter is not a resident of the county or of

the precinct where he or she is registered to vote. N.C.G.S. §163-85(c)(2), (3).

       43.    The statute mandates the county BOEs to schedule a preliminary hearing on

any such challenge, at which only the challenger may proffer evidence. N.C.G.S. §163-

85(d). At that hearing, a returned letter sent by first-class mail to the voter at the address

listed on the voter registration card constitutes “prima facie evidence that the person no

longer resides in the precinct.” N.C.G.S. §163-85(e). If the board finds probable cause

that the person challenged is not qualified to vote, then the board must schedule a second

hearing on the challenge and send a notice to the challenged voter’s registration address

stating the grounds for the challenge and the time and place of the hearing. N.C.G.S.

§§163-85(d), 163-86(b).




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       44.    At that second hearing, if the challenged voter appears in person, county

BOE officials must explain the qualifications for registration and question the voter under

oath regarding his or her qualifications. N.C.G.S. §163-86(c). A challenged voter who is

“unable to appear in person” at the hearing “may be represented by another person” but

must submit to the board an affidavit stating that, among other things, he or she “has or

will have resided in this State and in the precinct for which registered for 30 days by the

date of the next primary or election.” N.C.G.S. §163-86(d). If the challenged voter neither

takes an in-person oath nor submits the required affidavit, their registration must be

cancelled. N.C.G.S. §163-86(c).

       45.    In contrast to these challenge provisions, other provisions of North Carolina

law actually incorporate the protections of the NVRA. E.g., N.C.G.S. §163-82.14(d)

(providing for NVRA-compliant list maintenance procedures including address updates

and removal of ineligible voters after notice and two federal election cycles); id. §163-

82.14(d)(3) (requiring that voters removed from rolls under §163-82.14(d) be allowed to

cast valid ballots if they show up to vote even if their address has changed); id. §163-

82.15(e) (permitting voters to cast valid ballots if they have moved within a county).

Whatever the explanation for the apparent inconsistency between North Carolina statutory

provisions authorizing challenges to/cancellation of registrations of voters who have

moved within the county while simultaneously affirming their eligibility to vote, the

counties’ recent implementation of the challenge procedures has violated the federal

NVRA.




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                              FACTUAL BACKGROUND

             North Carolina’s Unlawful Voter Challenge and Purge Practices

       46.     In the weeks and months leading up to the November 8, 2016 general

election, county BOEs throughout North Carolina have been removing large numbers of

eligible, registered voters from the voter rolls, in response to coordinated and targeted en

masse change-of-address challenges brought under the State’s voter challenge statute by a

handful of individuals.

       47.     According to the State BOE, in Beaufort, Moore, and Cumberland Counties

alone, a small number of individuals have recently challenged the registration of

approximately 4,500 voters, based exclusively on mass mailings that were returned as

undeliverable. The overwhelming majority of these challenges were brought in August

and September 2016, less than 90 days before Election Day. Similar challenges may be

occurring in other North Carolina counties as well.

       48.     In Beaufort County, four individuals (including two 2015 candidates for local

office, Ricky Radcliffe and Shane Hubers) filed challenges to 138 registered voters in

September and October 2016. The sole basis for these challenges appears to be a mass

mailing from Mr. Radcliffe’s 2015 campaign that was returned from these voters’

addresses as undeliverable.

       49.     The Beaufort BOE held preliminary hearings on these voter challenges – of

which the challenged voters were given no notice – on October 7 and October 14, 2016,

and subsequently set the 138 challenges for formal hearing on October 24 or October 29,




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during the first week of early voting. At the preliminary hearings, Beaufort BOE members

acknowledged it was very close to the election to be holding formal hearings, that some of

the challenged voters (particularly the elderly) would have difficulty attending the

hearings, and that most of the challenged voters would not attend them. Beaufort BOE

members also noted at the preliminary hearing that some of the challenges were based on

returned mailings that had been sent to the voter’s residential address rather than their listed

mailing address, but nonetheless set those challenges for formal hearing anyway. Beaufort

BOE members stated that any voters who did not attend the formal hearing – including

those individuals who had already contacted the Board to confirm that they had not moved

– would be automatically removed from the rolls.

       50.     The Beaufort BOE purportedly sent letters to the challenged voters advising

them of the hearings, but in most instances these letters were sent only to the same

addresses from which Mr. Radcliffe’s 2015 campaign mailings were returned as

undeliverable. Many challenged voters did not receive any notice from the Beaufort BOE

that their registration status was challenged or that in order to remain registered to vote

they would have to attend the October 24 or October 29 hearing in person or otherwise

send a representative to appear on their behalf and submit a signed affidavit attesting to

certain specific facts.

       51.     The en masse voter challenges in Beaufort County have disproportionately

targeted African American voters.        African Americans comprise only 25.9% of the




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Beaufort County population, but they account for more than 65% (91 of 138) of the

challenges.

       52.    Veronica Ward, a long-time Belhaven resident, initially learned of these

systematic challenges occurring in Beaufort County through a news report. On or about

October 19, 2016, she saw a list of the 138 challenged voters, and realized that she knew

many of the people on the list, a majority of whom are African American. Disturbed by

the fact that African Americans appeared to have been targeted by these last-minute en

masse voter challenges, Ms. Ward and two other Beaufort County residents immediately

reached out to as many of the challenged voters as they could in an effort to offer assistance

in advance of the hearings. In the limited period of time they had before the scheduled

formal hearings, they were able to contact 35 of the 138 challenged voters, many of whom

were not aware before being contacted by Ms. Ward or her friends that their voter

registration status had been challenged. Five of those individuals were scheduled for

hearings on October 24, and 30 were scheduled for hearings on October 29.

       53.    Ms. Ward and her friends assisted these individuals in drafting affidavits

affirming that they live in Beaufort County and are eligible to vote, and presented

information at the October 24 and October 29 hearings about these voters’ residency.

Several of the individuals they assisted would have had difficulty traveling to attend the

hearings themselves.

       54.    As a result of Ms. Ward’s and her friends’ efforts, the voting eligibility of all

five of the challenged voters they assisted who were scheduled for hearings on October 24




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was upheld. Without the assistance of Ms. Ward and her friends, these five eligible voters

would in all likelihood have been removed from the voter rolls. Many of the other

challenged voters, whom Ms. Ward and her friends were unable to reach in time, were

purged from the voter rolls after the October 24 hearing, which they did not attend.

       55.     At the October 29 hearing, Ms. Ward presented evidence on behalf of the

challenged voters she and her friends had been able to reach, demonstrating that these

individuals still lived within Beaufort County. For example, Ms. Ward testified that she

personally visited one of the challenged voters at the residence in dispute. No evidence to

the contrary was presented. Nevertheless, rather than reject the challenge outright, the

Beaufort BOE instead postponed the hearing on the challenge to this individual to

November 7 – the day before Election Day – in order to afford the challenger an

opportunity to withdraw his challenge. The Beaufort BOE also postponed hearings on 11

other individual voters to November 7. The challenges to these 12 voters thus currently

remain pending. Beaufort BOE members stated at the hearing that the registrations of these

postponed voters would be cancelled if they did not show up at the November 7 hearing or

present an affidavit attesting to their eligibility.

       56.     The challenges to many other voters, whom Ms. Ward and her friends were

unable to reach in time, were sustained at the October 29 hearing, and approximately 50

voters were purged from the voter rolls as a result.

       57.     Many of the voters who have been challenged or actually removed from the

voter rolls are registered voters who currently reside within Beaufort County and are




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eligible to vote. Many of these voters simply moved to another residence within Beaufort

County, and many others had not changed their residence at all, but nonetheless sometimes

do not receive mail for various reasons.

       58.    Voters removed from the registration rolls at the October 24 hearing include

an individual who the Beaufort BOE members knew continues to reside within the county,

Plaintiff James Edward Arthur, Sr. Mr. Arthur is a resident of Washington, North Carolina

and has lived in Beaufort County his entire life. He registered to vote in Beaufort County

in November 2011, and since then has voted in at least 14 elections. In 2013, he was

admitted to Ridgewood Manor, a nursing home also located in Washington, North Carolina

(within Beaufort County), due to an injury he sustained. Mr. Arthur never received any

notice from the Beaufort BOE regarding a challenge to his voter registration status, and

never received any notice from the Beaufort BOE that a hearing had been set for October

24, 2016. Mr. Arthur wishes to vote in the upcoming November 8, 2016 general election,

and had planned to do so, but recently learned that he will be unable to cast a regular ballot

on election day because his voter registration has been cancelled. At the October 24

hearing, BOE members discussed that Mr. Arthur had moved into a nursing home within

the county, but nonetheless cancelled his registration based on the returned-as-

undeliverable mailing sent to the address where he lived prior to the nursing home.

       59.    Plaintiff James Lee Cox was also challenged solely on the basis of

undeliverable mail. Mr. Cox is another lifelong resident of Belhaven, North Carolina, and

has resided continuously at the same address in Beaufort County since 2012. Mr. Cox




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registered to vote in Beaufort County in October 2011 and since then has been an active

voter, voting in at least seven elections. Mr. Cox never received any notice from the

Beaufort BOE regarding a challenge to his voter registration status, and never received any

notice from the Beaufort BOE that a hearing had been set for October 29, 2016. Mr. Cox

has both a street address and a P.O. box; in his past experience, if mail is not addressed to

his P.O. box, it is returned to the sender as “undeliverable.” Mr. Cox only learned of the

challenge to his registration status and of the October 29 hearing because he was contacted

by Vera Martin, who offered to assist him in defending the challenge. Although Mr. Cox,

with Ms. Martin’s assistance, submitted a form to the Beaufort BOE demonstrating his

eligibility to vote, he has not received any notice from the Beaufort BOE confirming that

the challenge to his registration status has been withdrawn. Mr. Cox desires and intends to

vote in the November 8, 2016 general election.

       60.    To date, the Beaufort BOE has not notified Beaufort County voters who were

removed at the October 24 hearing of their removal, and the Beaufort BOE Director is

unsure what to tell those voters regarding whether they may cast ballots in the upcoming

November 8 election.

       61.    Similar practices have occurred, and are occurring, in Moore County, where

a single individual challenger, N. Carol Wheeldon, submitted forms in July 2016

challenging approximately 400 registered voters. It appears that the sole basis for all of

these challenges was an undelivered, returned letter from a mass mailing, which Ms.

Wheeldon attached to her challenge forms in support of her claim that “[t]he person is not




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a resident of the precinct in which the person is registered.” The envelopes used in Ms.

Wheeldon’s mailing were expressly marked “DO NOT FORWARD.”

       62.    The Moore BOE held preliminary hearings on September 6, 2016 and

subsequently set nearly all of the approximately 400 challenges for formal hearings on a

single day, October 14, 2016, less than 90 days before Election Day. The Moore BOE sent

notice letters to each of the challenged voters, likely to the same addresses from which Ms.

Wheeldon’s mailings had been returned as undeliverable.

       63.    At the hearing on October 14, no further evidence of any of the challenged

voters’ ineligibility to vote was proffered. None of the challenged voters attended.

Approximately a dozen or fewer challenges were dismissed or otherwise taken off the

challenge list at the hearing itself or in the days leading up to the hearing. With the

exception of those few individuals, the remaining several hundred individuals on the

challenge list were removed from the voter rolls.

       64.    The list of challenged voters included individuals like Plaintiff Brower, who

currently reside within Moore County and are eligible to vote. Mr. Brower has lived in

Moore County continuously since 1999. He is an active voter and has voted as recently as

in the November 2014 election, and he has every intention of voting on November 8, 2016.

In October 2016, when a friend who was familiar with the issue alerted his wife that his

name was on a list of challenged voters Mr. Bower learned that his registration had been

challenged. Upon learning of the challenge, Mr. Brower went to the Moore BOE to inform

them that he is still a Moore County resident eligible to vote and ultimately succeeded in




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getting his name removed from the challenge list. Had he not been contacted by his friend,

he very likely would have been purged from the voter rolls as a result of a single piece of

returned mail.

       65.       An attorney working with the Moore County NAACP was able to contact

another purged voter, who in fact still lives at the same Moore County address he used to

register to vote. The voter wishes to vote in the upcoming November 8, 2016 general

election, and had planned to do so, but recently learned that he will be unable to cast a

regular ballot because his voter registration was cancelled at the October 14 hearing. He

never received notice from the Moore BOE of the challenge or of the hearing.

       66.       Plaintiff Moore NAACP made a request for information to the Moore BOE,

seeking a copy of any post-hearing notice that the Moore BOE sent to the removed voters.

To date, the Moore BOE has not responded.

       67.       Similar coordinated, en masse voter challenge and registration cancellation

practices have occurred, and are occurring, in Cumberland County as well. According to

the State BOE, nearly 4,000 challenges were filed in Cumberland County in August and

September 2016, and many more challenges have been filed since 2014. As in Moore and

Beaufort Counties, the challenges in Cumberland County were based on mass mailings

returned as undeliverable.

       68.       At a September 30 hearing, the Cumberland BOE found probable cause to

set approximately 3,500 voters for a formal hearing to consider whether to cancel their

registrations.    Although Plaintiffs have not yet been able to obtain comprehensive




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information concerning the fates of those voters, a sample of voter registration records

suggests that the vast majority have been cancelled.

       69.    As a result of these unlawful voter challenge and practices under North

Carolina’s voter challenge statute, large numbers of eligible voters have been wrongfully

challenged and, in many cases, wrongfully purged from the voter rolls, without sending the

notice required by the NVRA or waiting for two election cycles afterward.

             Plaintiffs’ Protests of Unlawful Challenge and Purge Practices

       70.    Upon learning of Defendants’ unlawful voter challenge and purge practices,

Plaintiff organizations took immediate steps to notify the State of its unlawful practices

and to petition for immediate cessation of the unlawful practices and restoration of the

challenged voters’ registration status, to no avail.

       71.    On October 17, 2016, North Carolina NAACP President Rev. Dr. William J.

Barber, II sent a letter to Defendant North Carolina State Board of Elections, setting forth

what Plaintiffs had learned about voter removals in Beaufort, Moore, and Cumberland

Counties and protesting that the removal of these voters from the voter rolls violated the

NVRA as well as state law.

       72.    In that letter, Rev. Dr. Barber specifically stated that the cancellation of these

registrations violated the following provisions of the NVRA: 52 U.S.C. §20507(d)(1)

(prohibiting removal of voters based on changed address without meeting certain

requirements) and 52 U.S.C. §20507(c)(2)(A) (prohibiting systemic removal of voters

within 90 days of an election). The letter requested that the Board instruct all county BOEs




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to cease removal of voters from the rolls based on returned mail without complying with

the NVRA.

      73.    In response, the State BOE stated its opinion that the cancellations do not

constitute systematic removals as prohibited by the NVRA within 90 days of the election,

but did not address the concern raised that the cancellations also violate 52 U.S.C.

§20507(d)(1).

      74.    On October 22, 2016, Rev. Dr. Barber sent another letter, to Defendant Kim

Westbrook Strach, Executive Director of the State Board of Elections, elaborating on the

North Carolina NAACP’s concerns.

      75.    The State BOE responded on October 27, 2016, confirming that thousands

of voters have been challenged in these en masse proceedings in at least Beaufort, Moore,

and Cumberland Counties, and that these proceedings have resulted in the removal of

voters from the voter rolls. The State BOE nonetheless reasserted its position that the

State’s voter challenge procedures comport with requirements under the NVRA.

      76.    On October 14, 2016, Moore County NAACP President O’Linda D. Watkins

sent a letter to the Moore BOE and its Director Glenda Clendenin, setting forth what the

organization had learned about voter removals in Moore County and protesting that the

removal of these voters from the voter rolls violated the NVRA as well as state law.

      77.    Ms. Watkins specifically stated that the cancellation of these registrations

violated the following provisions of the NVRA: 52 U.S.C. §20507(d)(1) (prohibiting

removal of voters based on changed address without meeting certain requirements) and 52




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U.S.C. §20507(c)(2)(A) (prohibiting systemic removal of voters within 90 days of an

election), and further explained that, separate and apart from their unlawfulness under

federal law, the challenges should not have been set for hearing because they did not, on

their face, meet the requirements for a successful challenge under state law.

       78.    Ms. Watkins did not receive a response to her letter.

             Defendants’ Unlawful Voter Challenge and Purge Practices
                  Irreparably Harm Plaintiffs and Their Members

       79.    Defendants’ practice of permitting and enabling challengers to bring

systematic, coordinated, en masse challenges to large numbers of registered voters, and

of purging those challenged voters from the voter roll violates the NVRA, the Voting

Rights Act of 1965, and the Equal Protection Clause of the United States Constitution.

       80.    Defendants’ unlawful voter challenge and purge practices cause substantial

and irreparable harm to the individual Plaintiffs and to the organizational Plaintiffs’

members by unlawfully purging registered voters from the voter rolls, and/or by

subjecting them to a real and imminent risk that they will be unlawfully purged from the

voter rolls and consequently denied their right to vote in the upcoming November 8, 2016

general election, as well as in subsequent elections.

       81.    The practices occurring in North Carolina, including in Beaufort, Moore, and

Cumberland Counties, have already harmed the individual Plaintiffs and many of the

organizational Plaintiffs’ members and voters whom those members assist, who have been

unlawfully challenged and/or purged, and threaten to disenfranchise many others. On

information and belief, members of both North Carolina NAACP and Moore County


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NAACP, such as Plaintiff Brower, have been challenged or purged pursuant to Defendants’

unlawful implementation of North Carolina’s voter challenge statute, in violation of the

NVRA and other federal law, or are at risk of being so unlawfully challenged and denied

their right to vote in future elections.

       82.     Individuals who have been purged from the voter rolls will not appear on the

list of registered voters at their polling place and so will be unable to cast regular ballots.

Instead, they will be required to stand in a separate line and to attempt to complete the

complicated steps required to submit a provisional ballot.

       83.     Poll workers may permit such purged voters to cast provisional ballots, but

that will require the voters to attest in an affirmation that they are “registered voter[s] in

the jurisdiction.” N.C.G.S. §163-166.11(2). Voters whose registration has been cancelled,

but wrongfully so, may not understand whether they can truthfully provide such an

attestation and therefore may not provide it. As a result, many or most purged voters will

be unable to cast provisional ballots.

       84.     It is likely that even those purged voters who are able to cast provisional

ballots will not have their votes counted. The county BOEs will determine whether the

purged voter was eligible to vote, including whether the voter was registered in the county.

Since these voters’ registrations have been cancelled, county BOEs will likely determine

that most of these voters are not eligible to vote and will not count their provisional ballots.

       85.     Many voters who learn of challenges to their registration will be deterred

from voting, even if their registration is preserved.        The uncertainty caused by the




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challenges and the feeling of having been targeted for removal will undermine many

voters’ confidence that they will be able to vote and that their votes will be counted. This

is more so the case for African American voters who have personal memory of a time when

African Americans were not able to vote.

       86.    In addition to those individuals who have already been unlawfully challenged

and/or purged from the voter rolls, Defendants’ unlawful implementation of its voter

challenge statute in contravention of the NVRA and other federal law threatens the voting

rights of all the organizational Plaintiffs’ members. Unless Defendants’ unlawful practices

are enjoined, all of the organizational Plaintiffs’ members will remain at risk of being

subject to future unlawful challenges and unlawful disenfranchisement.

       87.    Defendants’ unlawful voter challenge and purging practices also directly

harm organizational Plaintiffs North Carolina NAACP and Moore County NAACP,

because those practices undermine their hard-fought efforts to register eligible voters, to

encourage early voting, and to conduct voter-education activities.

       88.    In addition, Defendants’ unlawful voter challenge and purging practices

further directly harm Plaintiffs North Carolina NAACP and Moore County NAACP as

organizations by forcing them to divert their limited resources away from their planned

voter-protection and education efforts, and instead to expend valuable staff time and

resources investigating and taking measures to counteract Defendants’ unlawful purging

activities, in an effort to ensure that the voting rights of their members and the voting rights

of all citizens are protected in the upcoming November 8, 2016 election.



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       89.     Plaintiff North Carolina NAACP has been forced to divert its valuable and

limited resources away from its core mission and planned voter-mobilization, voter-

protection, and voter-education activities in connection with the upcoming November 8,

2016 general election, in order to investigate, respond to, mitigate, and address the concerns

of its members resulting from Defendants’ unlawful en masse voter challenge and purging

practices.   This diversion of resources, particularly during this critical time in the weeks

leading up to the general election, is itself an irreparable harm to Plaintiff North Carolina

NAACP and its members.

       90.     Plaintiff Moore County NAACP has similarly had to divert its valuable and

limited resources away from its planned voter-protection and voter-education activities in

order to investigate, respond to, and address the concerns of its members resulting from

Defendants’ unlawful practices. Because Plaintiff Moore County NAACP has been forced

to divert its limited resources to respond to Defendants’ unlawful conduct, it has been

unable to conduct other activities important to its mission.

                                  CAUSES OF ACTION

                                         COUNT I

                      (Violation of the NVRA, 52 U.S.C. §20507(d))

       91.     Plaintiffs reallege every allegation of the preceding paragraphs as though

fully set forth herein.

       92.     The NVRA provides that if a state undertakes to remove registered voters on

the basis of a change in residence, certain procedures must be followed. In particular, the




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NVRA prohibits such removals unless the registrant either: (1) confirms the change of

residence in writing, or (2) fails to respond to a notice, the contents and manner of mailing

of which are prescribed by the NVRA, and fails to vote during the next two general federal

election cycles after receiving the notice. Id. §20507(d).

       93.    Adequate notice for such a removal must be provided by “a postage prepaid

and pre-addressed return card, sent by forwardable mail, on which the registrant may state

his or her current address.” Id. §20507(d)(2).

       94.    In addition, the notice must explain the following:

               (A) If the registrant did not change his or her residence, or changed residence
       but remained in the registrar’s jurisdiction, the registrant should return the card not
       later than the time provided for mail registration under subsection (a)(1)(B). If the
       card is not returned, affirmation or confirmation of the registrant's address may be
       required before the registrant is permitted to vote in a Federal election during the
       period beginning on the date of the notice and ending on the day after the date of
       the second general election for Federal office that occurs after the date of the notice,
       and if the registrant does not vote in an election during that period the registrant's
       name will be removed from the list of eligible voters.

               (B) If the registrant has changed residence to a place outside the registrar's
       jurisdiction in which the registrant is registered, information concerning how the
       registrant can continue to be eligible to vote.”

52 U.S.C. §20507(d)(2).

       95.    Relatedly, the NVRA expressly requires states to count the votes of

individuals who have moved to a new precinct within a county, regardless of whether they

have re-registered at that address or responded to a notice sent pursuant to 52 U.S.C.

§20507(d). See 52 U.S.C. §20507(e), (f). Thus, separate and apart from the notice and




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timing requirements of 52 U.S.C. §20507(d), the mere fact that someone has left a given

precinct is, by itself, a legally insufficient reason to cancel their registration.

       96.     After mailings were returned as undeliverable, Defendant county BOEs have

removed individual Plaintiffs and members of the organizational Plaintiffs, as well as other

individuals, from official voter registration lists based on alleged change in residence prior

to the passage of two federal election cycles.

       97.     Additionally, Defendant county BOEs have removed Plaintiffs and other

individuals from official voter registration lists based on undeliverable mailings that failed

to comply with the notice requirements of the NVRA, including but not limited to the fact

that such notices were not sent by forwardable mail and did not contain the required notice

content.

       98.     That Defendants’ purges of these voters contravene federal legal protections

is highlighted by the fact that the county BOEs have cancelled registrations on the ground

that voters moved outside their original precincts, without making any effort to ascertain

whether those voters’ new addresses remain within the same county. Such registration

cancellations violate the NRVA’s express protection of the right of such individuals to cast

ballots, regardless of whether they have updated their registration. See 52 U.S.C.

§20507(e), (f).

       99.     Defendants’ unlawful removals disenfranchise the individual Plaintiffs, as

well as members of the communities that the organizational Plaintiffs serve, depriving

members of those organizations of their rights under the NVRA.




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       100.    Defendants’ unlawful removals further harm and threaten to imminently

harm Plaintiffs because the purges undermine Plaintiffs’ voter registration efforts and

require Plaintiffs to expend limited resources responding to and taking steps to counteract

the unlawful removals.

       101.    By depriving registered voters and qualified citizens of the NVRA’s

safeguards prior to removing their names from the voting rolls, Defendants’ actions create

the real and immediate risk that members of the organizational Plaintiffs will be deprived

of their right to vote on or before November 8, 2016, and in the future.

       102.    Absent this Court’s intervention, Plaintiffs and their members will suffer

irreparable injury as a result of Defendants’ interference with their federal rights.

       103.    Plaintiffs and their members have no adequate remedy at law for the

deprivation of federal voting rights and interference with Plaintiff organizations’ ability to

protect their members’ interests caused by Defendants’ actions.

       104.    Defendants’ conduct must be preliminarily and permanently enjoined and

Defendants must be ordered to reinstate all improperly removed voters, and notify those

voters that they have been reinstated, as soon as possible.

                                             COUNT II

                          (Violation of the NVRA, 52 U.S.C. §20507(c)(2)(A))

       105.    Plaintiffs reallege every allegation of the preceding paragraphs as though

fully set forth herein.




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       106.     The NVRA prohibits a state from executing, later than 90 days prior to the

date of a primary or general election for federal office, any program with the purpose of

systematically removing ineligible voters from the official lists of eligible voters, except at

the request of the registrant, or by reason of disenfranchising criminal conviction, mental

incapacity, or death of the registrant. 52 U.S.C. §20507(c)(2)(A)-(B).

       107.    In violation of §20507(c)(2)(A), Defendants have systematically purged

voters from the official list of eligible voters for reasons other than request, conviction,

adjudication of incapacitation, or death of the registrant within each 90-day period

preceding both the March 15, 2016 primary election and November 8, 2016 general

election.   Defendants have done so, first, by adopting and maintaining a challenge

procedure that permits private parties to file en masse challenges to registered voters on

the basis of change-of-address information, evidenced by returned first-class mail, and,

second by acting on such challenges by sending notification of the challenge to challenged

voters, scheduling hearings to assess the challenged voters’ eligibility, and purging

registered voters from voter registration lists.

       108.    Defendants continue to purge voters from the official list of eligible voters

for reasons other than request, conviction, adjudication of incapacitation, or death as of the

date this Complaint is filed.

       109.    Defendants’ unlawful purges disenfranchise the individual Plaintiffs, as well

as members of the communities that the organizational Plaintiffs serve, depriving members

of those organizations of their rights under the NVRA.




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       110.    Defendants’ unlawful purges further harm and threaten imminently to harm

Plaintiffs because the purges undermine Plaintiffs’ voter registration efforts, place undue

burdens on and impediments to the registration process, and require Plaintiffs to expend

limited resources responding to and taking steps to counteract the unlawful purges.

       111.    By depriving registered voters and qualified citizens of the NVRA’s

safeguards prior to removing their names from the voting rolls, Defendants’ actions create

the real and immediate risk that members of the organizational Plaintiffs will be deprived

of their right to vote on or before November 8, 2016, and in the future.

       112.    Absent this Court’s intervention, Plaintiffs and their members will suffer

irreparable injury as a result of Defendants’ interference with their federal rights.

       113.    Plaintiffs and their members have no adequate remedy at law for the

deprivation of federal voting rights and interference with the organizational Plaintiffs’

ability to protect their members’ interests caused by Defendants’ actions.

       114.    Defendants’ conduct must be preliminarily and permanently enjoined and

Defendants must be ordered to reinstate all improperly purged voters, and notify those

voters that they have been reinstated, as soon as possible.

                                            COUNT III

                     (Violation of the Voting Rights Act, 52 U.S.C. §10301)

       115.    Plaintiffs reallege every allegation of the preceding paragraphs as though

fully set forth herein.




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       116.   Defendants’ unlawful voter challenge and purge practices violate 52 U.S.C.

§10301, which prohibits practices that “result[] in a denial or abridgement of the right of

any citizen of the United States to vote on account of race or color.”

       117.   Defendants’ unlawful voter challenge and purge practices have a disparate

impact upon African American voters and result in fewer opportunities for African

Americans to participate in the political process than members of other groups.

       118.   Defendants’ unlawful voter challenge and purge practices interact with social

and historical conditions to cause a disparity between the electoral opportunities of African

American and other voters. Among other factors showing this to be the case, North

Carolina has a long history of racial discrimination and race-based voter suppression in

particular, North Carolina recently adopted voter suppression legislation with racially

discriminatory intent, voting in North Carolina is racially polarized, African Americans

have borne the effects of discrimination in other areas, and political campaigns have been

characterized by overt or subtle racial appeals.

       119.   Defendants’ unlawful purges disenfranchise the individual Plaintiffs, as well

as members of the communities that the organizational Plaintiffs serve, depriving members

of those organizations of their rights under the Voting Rights Act.

       120.   Defendants’ unlawful purges further harm and threaten imminently to harm

Plaintiffs because the purges undermine Plaintiffs’ voter registration efforts, place undue

burdens on and impediments to the registration process, and require Plaintiffs to expend

limited resources responding to and taking steps to counteract the unlawful purges.




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       121.    Absent this Court’s intervention, Plaintiffs and their members will suffer

irreparable injury as a result of Defendants’ interference with their federal rights.

       122.    Plaintiffs and their members have no adequate remedy at law for the

deprivation of federal voting rights and interference with the organizational Plaintiffs’

ability to protect their members’ interests caused by Defendants’ actions.

       123.    Defendants’ conduct must be preliminarily and permanently enjoined and

Defendants must be ordered to reinstate all improperly purged voters, and notify those

voters that they have been reinstated, as soon as possible.

                                            COUNT IV

                (Violation of the Equal Protection Clause and 42 U.S.C. §1983)

       124.    Plaintiffs reallege every allegation of the preceding paragraphs as though

fully set forth herein.

       125.    Defendants’ unlawful voter challenge and purge practices violate the Equal

Protection Clause of the Fourteen Amendment by causing a severe and arbitrary denial of

the fundamental right to vote of eligible North Carolina voters including Plaintiffs and the

organizational Plaintiffs’ members.

       126.    Defendants’ unlawful voter challenge and purge practices place a severe

burden on the rights of challenged voters including Plaintiffs and Plaintiffs’ members.

Voters who learn that their eligibility is being challenged must show up in person at a

predetermined time and place, or submit a specified affidavit, in order to remain on the

voter rolls.




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       127.    Voters who are unable to attend that hearing, or who do not receive notice of

that hearing, will have their registration cancelled and be unable to cast regular ballots on

Election Day or in early voting. If those voters cast provisional ballots, their votes are

unlikely to be counted because they will not be considered registered voters in county

records and/or will be unable to execute an affidavit stating that they are registered voters.

       128.    No legitimate state interest justifies Defendants’ unlawful voter challenge

and purge practices. The NVRA and state law set forth procedures for states to follow to

ensure that voters who have moved out of the county are removed from the rolls after

having ample opportunity to correct their registration.

       129.    Defendants have no legitimate interest in preventing voters who have

changed their address but continue to reside in the same county, and therefore remain

eligible to vote, from having their votes counted. In fact, other provisions of state law

provides that such individuals have the right to cast regular ballots and change their address

at their polling place.

       130.    Defendants’ unlawful voter challenge and purge practices violate Plaintiffs

and Plaintiffs’ members of rights, privileges or immunities secured to them by the

Constitution of the United States, in violation of 42 U.S.C. §1983.

       131.    Defendants’ unlawful purges disenfranchise the individual Plaintiffs, as well

as members of the communities that the organizational Plaintiffs serve, depriving members

of those organizations of their rights under the Equal Protection Clause.




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       132.    Defendants’ unlawful purges further harm and threaten imminently to harm

Plaintiffs because the purges undermine Plaintiffs’ voter registration efforts, place undue

burdens on and impediments to the registration process, and require Plaintiffs to expend

limited resources responding to and taking steps to counteract the unlawful purges.

       133.   Absent this Court’s intervention, Plaintiffs and their members will suffer

irreparable injury as a result of Defendants’ interference with their federal rights.

       134.    Plaintiffs and their members have no adequate remedy at law for the

deprivation of federal voting rights and interference with the organizational Plaintiffs’

ability to protect their members’ interests caused by Defendants’ actions.

       135.    Defendants’ conduct must be preliminarily and permanently enjoined and

Defendants must be ordered to reinstate all improperly purged voters, and notify those

voters that they have been reinstated, as soon as possible.


                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs pray that the Court order the following relief and

remedies:

       1.     Declare that North Carolina’s unlawful voter challenge and purge practices

              violate 52 U.S.C. §20507(c)(2)(A), 52 U.S.C. §20507(d)(1), 52 U.S.C

              §20507(f), 52 U.S.C. §10301, 42 U.S.C. §1983, and the Equal Protection

              Clause of the United States Constitution.

       2.     Grant a temporary restraining order, preliminary injunction, and permanent

              injunction enjoining Defendants and their officers, agents, employees,



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       attorneys, and all persons who are in active concert or participation with them

       from (a) cancelling the registration of voters through the challenge procedure

       set forth in N.C.G.S. §163-85 and §163-86, when those challenges are based

       on change of residency and the State has neither received written

       confirmation from the voter of a change in residence outside of the county,

       nore complied with the NVRA’s two-election cycle waiting period; (b) using

       the challenge procedure set forth in N.C.G.S. §163-85 and §163-86 to

       remove voters from the rolls based on change of residency information in the

       90 days preceding a federal election; and (c) holding hearings or taking any

       other actions to process challenges filed under those provisions in the

       circumstances identified.

 3.    Grant a temporary restraining order, preliminary injunction, and permanent

       injunction requiring Defendants: (a) to restore the voter registrations that

       were unlawfully cancelled based on returned mail or other purported

       evidence of a change in residence through the challenge procedure set forth

       in N.C.G.S. §163-85 and §163-86; (b) to issue directives and take all other

       measures to ensure that such voters can cast regular ballots on or before

       November 8, 2016 and in future elections, including by prohibiting any

       same-day challenges to such restored voters, as well as previously challenged

       voters, under N.C.G.S. §163-87 if they appear to vote in person on November

       8, 2016; and (c) to provide mailed notice and other public notice reasonably




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              calculated to reach all voters whose registrations were challenged through

              the procedures set forth in N.C.G.S. §163-85 and §163-86, whether

              ultimately cancelled or not, that their registrations remain valid and that they

              will be able to cast regular ballots in upcoming elections;

         4.   Award Plaintiffs’ attorneys’ fees and costs; and

         5.   Award all such other and further relief as the Court deems to be just and

              equitable.



Dated:        October 31, 2016

                                   Respectfully submitted,

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